                   Case 23-11131-TMH           Doc 742       Filed 11/16/23      Page 1 of 15




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                          Chapter 11
    In re:
                                                          Case No. 23-11131 (TMH)
    AMYRIS, INC., et al.,
                                                          (Jointly Administered)

                          Debtors. 1
                                                          Hearing Date: 11/21/23 at 11:00 am (ET)
                                                          Objection Deadline: 11/17/23
                                                          (extended for U.S. Trustee)
                                                          Related Docket Nos. 524, 525


UNITED STATES TRUSTEE’S OBJECTION TO MOTION FOR AN ORDER (I) APPROVING
    THE DISCLOSURE STATEMENT; (II) SCHEDULING CONFIRMATION HEARING;
  (III) APPROVING FORM AND MANNER OF NOTICE OF CONFIRMATION HEARING;
(IV) ESTABLISHING PROCEDURES FOR SOLICITATION AND TABULATION OF VOTES
TO ACCEPT OR REJECT PLAN, INCLUDING (A) APPROVING FORM AND CONTENT OF
  SOLICITATION MATERIALS; (B) ESTABLISHING RECORD DATE AND APPROVING
 PROCEDURES FOR DISTRIBUTION OF SOLICITATION MATERIALS;(C) APPROVING
    FORMS OF BALLOTS; (D) ESTABLISHING VOTING DEADLINE FOR RECEIPT OF
        BALLOTS AND (E) APPROVING PROCEDURES FOR VOTE TABULATIONS;
         (V) APPROVING FORM AND MANNER OF NOTICE OF PLAN RELEASES;
   (VI) ESTABLISHING DEADLINE AND PROCEDURES FOR FILING OBJECTIONS TO
           CONFIRMATION OF PLAN; AND (VII) GRANTING RELATED RELIEF


             Andrew R. Vara, the United States Trustee for Region 3 (“U. S. Trustee”), by and through his

undersigned counsel, hereby files this objection (the “Objection”) to the Motion for an Order (I) Approving

the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III) Approving Form and Manner of

Notice of Confirmation Hearing; (IV) Establishing Procedures for Solicitation and Tabulation of Votes to

Accept or Reject Plan, Including (A) Approving Form and Content of Solicitation Materials;



1
         A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website
of the Debtors’ claims and noticing agent at https:\cases.stretto.com\amyris. The location of Debtor Amyris
Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis
Street, Suite 100, Emeryville, CA 94608.


                                                         1
               Case 23-11131-TMH            Doc 742       Filed 11/16/23       Page 2 of 15




(B) Establishing Record Date and Approving Procedures for Distribution of Solicitation

Materials;(C) Approving Forms of Ballots; (D) Establishing Voting Deadline for Receipt of Ballots and

(E) Approving Procedures for Vote Tabulations; (V) Approving Form and Manner of Notice of Plan

Releases; (VI) Establishing Deadline and Procedures for Filing Objections to Confirmation of Plan; and

(VII) Granting Related Relief (Docket No. 525) (the “Motion”),2 pursuant to which the Debtors seek,

among other things, approval of (i) the Disclosure Statement and (ii) the form and manner of notice of the

Confirmation Hearing as to both Voting Classes and Non-Voting Classes and notice of Third Party Release

with opt out provisions and procedures, as applicable. In support of this Objection, the U.S. Trustee states:

                                     PRELIMINARY STATEMENT


        1.       The Disclosure Statement does not satisfy the requirement of Bankruptcy Code

section 1125 to provide adequate information. A disclosure statement must inform the average

creditor what it is going to receive and when, and what contingencies there are to receipt of the

distribution. The pending Disclosure Statement however does not provide a plain language

explanation of the estimated distributions to be received by creditors under the various scenarios

envisioned under the Plan. The Disclosure Statement similarly fails to include a simple and

clear explanation of the proposed third-party releases and the differing recovery scenarios

thereunder, which are tied to whether nonconsensual releases are approved.

        2.       Approval of the Disclosure Statement is also predicated upon entry into

agreements with key contract counterparties that are purportedly critical to the reorganization,

yet those agreements have not been reached and therefore adequate information cannot be

provided.


2
 Capitalized terms used herein and not otherwise defined are defined as set forth in the Motion or the
Disclosure Statement for Debtors’ Chapter 11 Plan of Reorganization (Docket No. 524) (the “Disclosure
Statement”).

                                                      2
             Case 23-11131-TMH          Doc 742      Filed 11/16/23    Page 3 of 15




       3.      The Plan does not appear to enjoy the support of the Committee or Ad Hoc

Noteholders Group. The Disclosure Statement does not identify the issues preventing those key

constituents from supporting the Plan or the risks of moving forward without that support.

       4.      The Disclosure Statement should not be approved absent significant changes.

Any revision of the Disclosure Statement sufficient to satisfy the requirements of Bankruptcy

Code section 1125 would be material, and parties in interest must be provided adequate time to

meaningfully review such revisions. Accordingly, the Disclosure Statement should not be

approved as filed and consideration of any revised Disclosure Statement should be adjourned for

a time sufficient to satisfy the noticing requirements of Bankruptcy Rules 2002 and 3017.

                          JURISDICTION, VENUE AND STANDING


       5.      Under (i) 28 U.S.C. § 1334; (ii) applicable order(s) of the United States District

Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a); and (iii) 28 U.S.C.

§ 157(b)(2)(A), this Court has jurisdiction to hear and determine this Objection.

       6.      Pursuant to 28 U.S.C. § 586, the U. S. Trustee is charged with the administrative

oversight of cases commenced pursuant to chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). This duty is part of the U. S. Trustee’s overarching responsibility to

enforce the bankruptcy laws as written by Congress and interpreted by the courts. See United

States Trustee v. Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96

(3d Cir. 1994) (noting that the U.S. Trustee has “public interest standing” under 11 U.S.C. § 307,

which goes beyond mere pecuniary interest); Morgenstern v. Revco D.S., Inc. (In re Revco D.S.,

Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U. S. Trustee as a “watchdog”).




                                                 3
             Case 23-11131-TMH          Doc 742      Filed 11/16/23    Page 4 of 15




       7.      Pursuant to 28 U.S.C. § 586(a)(3)(B), the U.S. Trustee has the duty to monitor

plans and disclosure statements filed in Chapter 11 cases and to comment on such plans and

disclosure statements.

       8.       The U.S. Trustee has standing to be heard on the on the Motion and the issues

raised in this Objection pursuant to 11 U.S.C. § 307.

                                        BACKGROUND


       9.      On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code which

initiated the Chapter 11 Cases. The Debtors are operating their businesses and managing their

properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       10.     On August 27, 2023, the U.S. Trustee appointed the committee of unsecured

creditors (the “Committee”) pursuant to Bankruptcy Code section 1102(a)(1). The Committee

members are: (i) Cosan U.S. Inc., (ii) U.S. Bank Trust Company, National Association as

Trustee (“U.S. Bank”), (iii) Sartorius Stedim North America, Inc., (iv) Hearst Magazine Media,

Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog Participacoes, Ltda.

       11.     The Committee is not a proponent of the Plan.

       12.     On August 25, 2023, the Debtors filed the Debtors’ Emergency Motion to Assume

and/or Enter Into Reimbursement Agreements With Professionals for the Ad Hoc Noteholder

Group (Docket No. 148) (the “Bondholder Fee Motion”), pursuant to which the Debtors sought

authority to pay the professional fees and expenses of the Ad Hoc Noteholders Group because

that group’s involvement was purported to be essential to a successful exit strategy. See e.g.,

Declaration of Philip J. Gund in Support of Debtors’ Emergency Motion to Assume and/or Enter

Into Reimbursement Agreements with Professionals for the Ad Hoc Noteholder Group (Docket


                                                 4
               Case 23-11131-TMH            Doc 742       Filed 11/16/23       Page 5 of 15




No. 148-2) (the “Gund Declaration”). 3 Nevertheless, the Debtors have not garnered the support

of the Ad Hoc Noteholders Group, which is engaged in disputed discovery with respect to the

Plan. See e.g., Motion of the Ad Hoc Noteholder Group for an Order Pursuant to Bankruptcy

Rule 2004 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by the

Foris Lenders (Docket No. 614) (the “Rule 2004 Motion”). 4

        13.      In addition to any open issues with the Committee and Ad Hoc Noteholders

Group, consensual resolution of issues with the Debtors’ key contract counterparties DSM and

Givaudan are necessary to approval of the Disclosure Statement and have not yet occurred. See

Disclosure Stmt., p. 4. 5




3
  Gund Decl., ¶ 8 (“I do not believe that it is feasible to successfully progress on the terms of a plan of
reorganization – or these Chapter 11 Cases generally – without the continued engagement of the Ad Hoc
Noteholder Group.”); ¶ 9 (“The continued engagement – as opposed to value-destructive litigation – of
the Ad Hoc Noteholder Group, advised by competent and consistent professionals in what has been a
constructive process thus far, is essential towards maximizing enterprise value and recovery to creditors,
and a successful reorganization.”).
4
  Rule 2004 Mot., ¶ 2 (“That stonewalling is unacceptable. The discovery the Ad Hoc Group seeks is
relevant and important for this Chapter 11 case. It is necessary for the Ad Hoc Group to investigate
potential derivative claims to benefit the estate and assess the sweeping releases of its direct claims called
for in the Plan. The Ad Hoc Group is entitled to that discovery to understand whether and how it is
impaired under the Plan and what options it has in this case going forward.”).
5
  Disclosure Stmt., p. 4 (emphasis added) (“Since the Petition Date, the Debtors and their advisors, and
Foris and its advisors, have been engaged in extensive negotiations with the Company’s key contract
counterparties, DSM and Givaudan, with respect to amending their commercial relationships to enable the
Debtors to implement a sustainable business plan going forward. The Plan, and ancillary documents,
provide for a comprehensive operational restructuring of the Debtor with respect to its research and
development and ingredient manufacturing business lines, including its commercial relationships with
DSM and Givaudan. Specifically, the Plan and ancillary documents provide the respective treatment for
the following agreements and claims: the DSM Contracts and DSM’s Claims; and Givaudan Contracts
and Givaudan’s Claims. The negotiations with DSM and Givaudan are ongoing, and reaching an
agreement on binding Term Sheets is a condition to approval of the Disclosure Statement.”).


                                                      5
             Case 23-11131-TMH           Doc 742      Filed 11/16/23     Page 6 of 15




                             THE SOLICITATION PROCEDURES


       14.     As set forth above, through the Motion, the Debtors seek, among other

things, approval of the form and manner of notice of the Confirmation Hearing as to both

Voting Classes and Non-Voting Classes and notice of the Third Party Release with opt-

out provisions and procedures. The Classes are numerous, and the ways that parties

might respond to the Third Party Release and the differing ways the distributions would

be affected by the Third-Party Releases appears to rest on whether this Court approves

the Third Party Release “non-consensually” or “consensually.” For example, the

Disclosure Statement provides:

        Holders of Direct Claims will receive a notice of the provisions in the Plan
       regarding the Third Party Release, the Excluded Party Litigation Trust, the Direct
       Claims Recovery Pool and the Direct Claim Injunction (the “Direct Claim
       Provisions”). The Debtors will seek approval of the Direct Claim Provisions based
       upon the governing standard for approval of non-consensual third party releases.
       In the event the Bankruptcy Court does not approve the Direct Claim Provisions,
       the Direct Claim Provisions shall be deemed a settlement offer to the holders of
       Direct Claims on the terms set forth in the Plan, which are less favorable than if the
       Court were to approve the Direct Claims Provisions. In such a circumstance, each
       holder of a Direct Claim may voluntarily elect to receive its Pro Rata share of 50%
       of the portion of the Direct Claims Recovery Pool to which it is entitled by electing
       to grant the Third-Party Releases, through the following methods: (x) for (i) holders
       of Claims who are entitled to submit a ballot to vote on the Plan and vote to accept
       the Plan, (ii) holders of Claims who are entitled to submit a ballot to vote on the
       Plan and (a) vote to reject the Plan or (b) abstain from voting on the Plan and, in
       either case, do not elect to exercise their right to opt out of granting the Third-Party
       Releases, and (y) for holders of Claims and Interests who are deemed to accept or
       reject the Plan and are provided with a notice of non-voting status providing them
       with the right to opt out of granting the Third-Party Releases and do not elect to
       exercise such right; provided, that, as applicable, the Direct Claims Threshold is
       satisfied. Any undistributed amounts in the Direct Claims Recovery Pool that
       would have otherwise been allocated to holders of Direct Claims that opted out of
       granting the Third-Party Release shall revert to the Reorganized Amyris.
Disclosure Stmt., pp. 5-6.



                                                  6
              Case 23-11131-TMH           Doc 742       Filed 11/16/23     Page 7 of 15




Non-Voting Classes


        15.     The Plan contains fifteen separate Classes of Claims or Interests. Holders of

Claims in Classes 1 and 2 under the Plan are Unimpaired and deemed to have accepted the Plan,

and therefore are not entitled to vote. Holders of Claims in Class 12 under the Plan, as well as

Holders of Interests in Class 15 under the Plan, are Impaired and shall not receive nor retain any

property under the Plan on account of such Claims or Interests, and therefore are deemed to have

rejected the Plan and are not entitled to vote.

        16.     Pursuant to the Motion, the Debtors request that they not be required to transmit

Solicitation Materials to holders of Claims in Classes 1, 2, 12, and 15 of the Plan (each, a “Non-

Voting Class”). Rather, the Debtors propose to transmit the Non-Voting Class Notice, which

includes a description of the Plan’s release, indemnification and exculpation provisions, and the

ability to elect to opt out of granting the Third Party Release. The Non-Voting Class Notices

shall include an election form, with applicable instructions and procedures, to enable the

recipient to opt out of the Third Party Release (the “Opt Out Election Form”). The Opt Out

Election Form, however, does not explain or otherwise provide any information about the

differing recovery possibilities dependent on whether this Court approves the Third Party

Releases “non-consensually” or “consensually.”

Voting Classes
        17.     Holders of Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10, and 13 6 (the “Voting Classes”)

can vote. The Debtors intend to transmit the Solicitation Materials to the Voting Classes, which

includes the Ballot. Each Ballot will include an election for the Claimant to opt out of granting


6
 Class 13 is for Holders of Convenience Claims. It is unclear whether the Debtors intend for there to be
any such Class in the Plan.


                                                    7
              Case 23-11131-TMH           Doc 742       Filed 11/16/23      Page 8 of 15




the Third Party Release where the Claimant votes to reject the Plan or abstains from voting on

the Plan. Likewise, the ballots for the voting classes do not explain or otherwise provide any

information about the differing recovery possibilities dependent on whether this Court approves

the Third Party Release “non-consensually” or “consensually.”

Affiliate Classes


        18.     The Debtors further propose that Holders of Claims in Class 11 (Intercompany

Claims) and Interests in Class 14 (Intercompany Interests) should be deemed to have received all

required notices upon entry of the proposed Disclosure Statement Order without actual delivery

of such notices. Neither Class 11 nor Class 14 are entitled to vote on the Plan. Class 11 consists

of the Claims of Debtors or wholly-owned Affiliates of Debtors which, while impaired, have

consented to the Plan, and Class 14 consists of the Interests of Debtors or wholly-owned

Affiliates of Debtors who are not impaired and are deemed to have accepted the Plan.

        19.     Although the non-voting notices and ballots purportedly allow the creditors to

“opt-out” of the third-party release, the Disclosure Statement provides that the Debtors will first

seek approval of the Direct Claim Provisions based upon the standard governing non-consensual

third-party releases. 7

        20.     If the third-party releases are not approved on a non-consensual basis, the

Debtors will then seek approval of the third-party releases on a consensual basis. However,

creditors will receive a diminished recovery if approved on a consensual basis. 8



7
 See e.g., Disclosure Stmt., p. 5 (“The Debtors will seek approval of the Direct Claim Provisions based
upon the governing standard for approval of non-consensual third party releases.”)
8
 See e.g., Disclosure Stmt., pp. 5-6 (“In the event the Bankruptcy Court does not approve the Direct
Claim Provisions, the Direct Claim Provisions shall be deemed a settlement offer to the holders of Direct


                                                    8
                 Case 23-11131-TMH           Doc 742       Filed 11/16/23    Page 9 of 15




          21.      The Plan also provides for recoveries separate from the third-party releases, with

recovery dependent upon whether the class accepts or rejects. 9

          22.      The Disclosure Statement does not include any estimate of recoveries to

creditors. 10

          23.      The Disclosure Statement does not include a Liquidation Analysis. 11

          24.      An agreement on binding Term Sheets with DSM and Givaudan is a condition to

approval of Disclosure Statement. 12 There is nothing on the docket reflecting that those integral

agreements have been reached, and information is not provided regarding the terms and conditions

of any such potential agreements.

                                                OBJECTION


I.        General Standards for Disclosure Statements


          25.      Section 1125 of the Bankruptcy Code provides that a disclosure statement must

contain “adequate information” describing a confirmable plan. 11 U.S.C. § 1125; see also In re

Quigley Co., 377 B.R. 110, 115 (Bankr. S.D.N.Y. 2007). The Bankruptcy Code defines

“adequate information” as:




Claims on the terms set forth in the Plan, which are less favorable than if the Court were to approve the
Direct Claims Provisions.”)
9
 See e.g., Disclosure Stmt., pp. 35-36 (describing treatment of Class 8 General Unsecured claims “if the
General Unsecured Claims Class votes to accept the Plan” and a differing treatment “if the General
Unsecured Class votes to reject the Plan.”)
10
  See, Disclosure Stmt., p. 10 (containing blanks for the “Estimated Distributions” for many of the
Classes, including the Class 9 General Unsecured Claims).
11
     See, Disclosure Stmt., Ex. D (Liquidation Analysis not attached).
12
  See, Disclosure Stmt., p. 4 (“The negotiations with DSM and Givaudan are ongoing, and reaching an
agreement on binding Term Sheets is a condition to approval of the Disclosure Statement.”).

                                                       9
              Case 23-11131-TMH           Doc 742       Filed 11/16/23     Page 10 of 15




        Information of a kind, and in sufficient detail, as far as is reasonably practicable in
        light of the nature and history of the debtor and the condition of the debtor’s books
        and records, including a discussion of the potential material Federal tax
        consequences of the plan to the debtor, any successor to the debtor, and a
        hypothetical investor typical of the holders of claims or interests in the case, that
        would enable such a hypothetical reasonable investor of the relevant class to
        make an informed judgment about the plan . . . .
11 U.S.C. § 1125(a)(1) (emphasis added); see also Momentum Mfg. Corp. v. Employee Creditors Comm.

(In re Momentum Mfg. Corp.), 25 F.3d 1132, 1136 (2d Cir. 1994); Kunica v. St. Jean Fin., Inc., 233 B.R.

46, 54 (S.D.N.Y. 1999).

        26.     The disclosure statement requirement of section 1125 of the Bankruptcy Code is

“crucial to the effective functioning of the federal bankruptcy system[;] . . . the importance of

full and honest disclosure cannot be overstated.” Ryan Operations G.P. v. Santiam-Midwest

Lumber Co., 81 F.3d 355, 362 (3d Cir. 1996) (citing Oneida Motor Freight, Inc. v. United Jersey

Bank (In re Oneida Motor Freight, Inc.), 848 F.2d 414 (3d Cir. 1988)).

        27.     The “adequate information” requirement is designed to help creditors in their

negotiations with Debtors over the plan. See Century Glove, Inc. v. First Am. Bank, 860 F.2d 94

(3d Cir. 1988). Section 1129(a)(2) conditions confirmation upon compliance with applicable

Code provisions. The disclosure requirement of section 1125 is one of those provisions. See 11

U.S.C. 1129(a)(2); In re PWS Holding Corp., 228 F.3d 224, 248 (3d Cir. 2000).

        28.     To be approved, a disclosure statement must include sufficient information to

apprise creditors of the risks and financial consequences of the proposed plan. See In re McLean

Indus., 87 B.R. 830, 834 (Bankr. S.D.N.Y. 1987) (“substantial financial information with respect

to the ramifications of any proposed plan will have to be provided to, and digested by, the

creditors and other parties in interest in order to arrive at an informed decision concerning the

acceptance or rejection of a proposed plan”); In re Duratech Indus., 241 B.R. 291, 298 (Bankr.


                                                   10
             Case 23-11131-TMH           Doc 742       Filed 11/16/23   Page 11 of 15




E.D.N.Y.), aff’d, 241 B.R. 283 (E.D.N.Y. 1999) (the purpose of the disclosure statement is to

give creditors enough information so that they can make an informed choice of whether to

approve or reject the debtor’s plan).

       29.        Section 1125 of the Bankruptcy Code is geared towards more disclosure rather

than less. See In re Crowthers McCall Pattern, Inc., 120 B.R. 279, 300 (Bankr. S.D.N.Y. 1990).

The “adequate information” requirement merely establishes a floor, and not a ceiling for

disclosure to voting creditors. In re Adelphia Commc’ns Corp., 352 B.R. 592, 596 (Bankr.

S.D.N.Y. 2006) (citing Century Glove, Inc. v. First Am. Bank of New York, 860 F.2d 94, at 100

(3d Cir. 1988).

       30.        “Adequate information” under section 1125 is “determined by the facts and

circumstances of each case.” See Oneida, 848 F.2d at 417 (citing H.R. Rep. No. 595, 97th

Cong., 2d Sess. 266 (1977)).

       31.        A disclosure statement must inform the average creditor what it is going to get

and when, and what contingencies there are that might intervene. In re Ferretti, 128 B.R. 16, 19

(Bankr. D.N.H. 1991). Although the adequacy of the disclosure is determined on a case-by-case

basis, the disclosure must “contain simple and clear language delineating the consequences of the

proposed plan on [creditors’] claims and the possible [Bankruptcy Code] alternatives . . . .” In re

Copy Crafters Quickprint, Inc., 92 B.R. 973, 981 (Bankr. N.D.N.Y. 1988).

II.    The Disclosure Statement Does Not Contain Adequate Information

       32.        The Disclosure Statement and Solicitation Materials lack adequate information to

allow an average creditor to understand the Plan in a manner sufficient to make an informed

decision. Despite its length, the Disclosure Statement does not contain the information that is

most germane to creditors: what distributions can creditors expect under the Plan. The



                                                  11
             Case 23-11131-TMH          Doc 742       Filed 11/16/23    Page 12 of 15




Disclosure Statement therefore does not provide the information most essential to creditors in

voting on a Plan.

       33.     The Disclosure Statement fails to provide adequate information regarding the

Third Party Release. The Disclosure Statement fails to explain in a clear and succinct manner

what releases are being imposed on creditors, what support is found in the Bankruptcy Code and

Third Circuit precedent for those broad third-party releases, and the likelihood of the Debtors’

success in confirming a Plan with such broad third-party releases.

       34.     The Disclosure Statement does not describe how the non-consensual Third Party

Release, to the extent permissible at all, satisfies the exacting standards for approval thereof.

See In re Continental Airlines, 203 F.3d 203 (3d Cir. 2000); In re Millennium Lab Holdings II,

LLC., 945 F.3d 126 (3d Cir. 2019); In re Genesis Health Ventures, Inc., 266 B.R. 591 (Bankr. D.

Del. 2001). There is insufficient information demonstrating that non-consensual releases are

necessary to the reorganization, especially where some or all of the Debtors’ assets will be sold

rather than reorganized. There is similarly insufficient information evidencing whether the non-

consensual releases are fair because there is inadequate explanation of the financial contribution

provided by the parties proposed to be released and whether the non-consenting non-debtors are

receiving reasonable consideration in exchange for the release.

       35.     The Disclosure Statement also lacks sufficient information regarding how

approval of releases on a non-consensual versus consensual basis will affect recoveries.

Although the Disclosure Statement discloses that creditors will receive a diminished recovery if

the Third Party Release is approved on a consensual basis, the Disclosure Statement does not

provide an estimated range of recoveries in either instance. The Debtors’ proposal to solicit a

Plan with first a “non-consensual” and if that fails, a “consensual” path to approval of the Third



                                                 12
             Case 23-11131-TMH           Doc 742      Filed 11/16/23    Page 13 of 15




Party Release appears to be untenable due to the Debtors’ inability to plainly explain in their

balloting materials how parties can exercise their “options”, and how their recoveries will be

affected based on the different “paths” to approval.

       36.     Although Holders of Claims are provided the option to opt-out, the Debtors will

still seek to impose the Third Party Release upon them. If the non-consensual Third Party

Release is approved, the Debtors will establish a Direct Claims Recovery Pool. If the non-

consensual Third Party Release is not approved, then holders of Direct Claims may still

participate in the Direct Claims Recovery Pool to the extent that they do not opt-out of the Third

Party Release and the Direct Claims Threshold. The Disclosure Statement does not provide

estimated distributions in each instance. It is also unclear whether a party is bound by the Third

Party Release if it does not opt out and the Direct Claims Threshold is not met (i.e., it is unclear

whether the creditor can consent to the third-party releases in return for the promised

consideration and then still be held to the release if the consideration does not materialize).

       37.     The Disclosure Statement must provide a plain language description of (i) the

estimated recoveries under the Plan, (ii) the timing of payment under the various scenarios

possible under the Plan, (iii) the claims being released, (iv) the consideration being provided in

exchange therefor, (v) the expected distributions in connection therewith, and (vi) an explanation

of the likelihood of approval thereof.

       38.     Approval of the Disclosure Statement is also predicated upon entry into

agreements with key contract counterparties DSM and Givaudan. Those agreements are

purportedly critical to the reorganization and implementing a sustainable go-forward business

plan, yet those agreements have not been reached. Therefore, adequate information cannot be

provided presently with respect to same.



                                                 13
             Case 23-11131-TMH           Doc 742      Filed 11/16/23    Page 14 of 15




       39.       Finally, the Disclosure Statement does not indicate that the Plan is supported by

the Committee or Ad Hoc Noteholders Group. The Committee, of course, is a fiduciary to the

unsecured creditor body as a whole and an understanding of its position is essential. The Ad Hoc

Noteholders Group’s participation in the Plan process was deemed so essential that the Debtors

received approval to pay their professional fees. Yet the Ad Hoc Noteholders Group is engaged

in disputed discovery with respect to the Plan. The Disclosure Statement does not explain why

those key groups do not support the Plan nor the risks attendant to seeking confirmation without

their support.

       40.       In sum, the Debtors proposed Plan contains a number of complex, moving pieces.

It is the Debtors’ burden to distill the Plan into a Disclosure Statement that provides “a

hypothetical reasonable investor of the relevant class to make an informed judgment about the

plan.” 11 U.S.C. § 1125(a)(1). The currently-filed Disclosure Statement does not satisfy that

burden.

III.   Consideration of the Disclosure Statement Should be Adjourned

       41.       As set forth above, the Disclosure Statement contains inadequate information.

Any revised form of Disclosure Statement, which must include the Term Sheets, must be

submitted with sufficient time to allow parties in interest to review the voluminous documents

and form a meaningful response. Any changes to the Disclosure Statement and Plan at this

juncture would not provide adequate notice for consideration at the hearing on November 21,

2023, at 11:00 am. Accordingly, the U.S. Trustee submits that the hearing should be adjourned

if the Debtors file a revised Disclosure Statement so that parties in interest have an opportunity to

review and determine whether it provides adequate information.




                                                 14
             Case 23-11131-TMH          Doc 742       Filed 11/16/23   Page 15 of 15




                                 RESERVATION OF RIGHTS

       42.     The U.S. Trustee leaves the Debtors to their burden of proof and reserves any and

all rights, remedies and obligations to, inter alia, complement, supplement, augment, alter and/or

modify this Objection, file an appropriate Motion and/or conduct any and all discovery as may

be deemed necessary or as may be required, and to assert such other grounds as may become

apparent upon further factual discovery. The U.S. Trustee also reserves all rights with respect to

plan confirmation issues until the relevant objection deadline.

                                         CONCLUSION

       WHEREFORE, the U.S. Trustee requests that this Court sustain this Objection and grant

such other relief as it deems just and proper.




 Dated: November 16, 2023                         Respectfully submitted,
        Wilmington, DE
                                                  ANDREW R. VARA
                                                  UNITED STATES TRUSTEE,
                                                  REGIONS 3 & 9

                                                  By: /s/ John Schanne
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